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                           UNITED STATES DISTRICT COURT

                             DISTRICT OF SOUTH DAKOTA

                                     CENTRAL DIVISION



LOWER        BRULE    SIOUX     TRIBE, NEIL                    3:22-CV-03008-RAL
PIERRE RUSSELL, INDIVIDUAL MEMBER
OF THE LOWER BRULE SIOUX TRIBE;
STEPHANIE    BOLMAN,    INDIVIDUAL
MEMBER OF THE LOWER BRULE SIOUX                    ORDER SETTING BRIEFING SCHEDULE
TRIBE; AND BEN JANIS, INDIVIDUAL
MEMBER OF THE LOWER BRULE SIOUX
TRIBE;

                      Plaintiffs,



       vs.



LYMAN COUNTY,  LYMAN COUNTY
BOARD OF COMMISSIONERS, BRIAN
KRAUS, IN HIS OFFICIAL CAPACITY AS
LYMAN COUNTY COMMISSIONER;LESLIE
REUER, IN HER OFFICIAL CAPACITY AS
LYMAN COUNTY COMMISSIONER; ZANE
REIS, IN HIS OFFICIAL CAPACITY AS
LYMAN COUNTY COMMISSIONER; RYAN
HUFFMAN,IN HIS OFFICIAL CAPACITY AS
LYMAN COUNTY COMMISSIONER; JARED
SCHELSKE, IN HIS OFFICIAL CAPACITY
AS LYMAN COUNTY COMMISSIONER;
AND DEB HALVERSON,IN HER OFFICIAL
CAPACITY AS LYMAN COUNTY AUDITOR;

                       Defendants.




       Plaintiffs filed this case on May 18, 2022, and moved for a preliminary injunction the
following day. This Court emailed the parties about setting a briefmg schedule on the motion for
a preliminary injunction but never heard back from counsel for the Defendants. Counsel for
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Defendants has now filed a notice of appearance, however, and has been communicating with the
Clerk of Court. To aid in a timely resolution of this case, it is hereby

       ORDERED that Defendants have until June 28, 2022,to respond to the Plaintiffs' motion

for a preliminary injunction. It is further

       ORDERED that the Plaintiffs have until July 12,2022, to file a reply brief. It is further

        ORDERED that counsel for both parties cooperate with chambers to schedule a hearing in

this case. That hearing will likely occur in the latter half of July.

        DATED this 7th day of June,2022.

                                               BY THE COURT:




                                               ROBERTO A. LANGE
                                                CHIEF JUDGE
